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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                Plaintiff,                    )
                                              )
       vs.                                    ) No.
                                              )
PATRICK K. ESTES,                             )
                                              )
                Defendant.                    )


                 MOTION FOR PRE-TRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Jillian S. Anderson, Assistant

United States Attorney, and moves the Court to order defendant detained pending trial, and

further requests that a detention hearing be held three (3) days from the date of defendant’s initial

appearance before the United States Magistrate pursuant to Title 18, United States Code, Section

3141, et seq.

       As and for its grounds, the Government states as follows:

       1.       Defendant has been indicted with violations of 18 U.S.C. §2422(b), attempted

                enticement of a minor to engage in unlawful sexual activity; 18 U.S.C.

                §2252A(a)(3)(B)(ii), soliciting child pornography; and 18 U.S.C. §2260A,

                committing certain felony offenses against a minor while being a registered sex

                offender. Because of the defendant's indictment on these charges, there is a

                rebuttable presumption that no conditions of bond can ensure the defendant’s




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            appearance and the community's safety. Title 18, U.S.C. § 3142(e)(3)(E) states

            that:

     Subject to rebuttal by the person, it shall be presumed that no condition or combination of
     conditions will reasonably assure the appearance of the person as required and the safety
     of the community if the judicial officer finds that there is probable cause to believe that
     the person committed - … an offense involving a minor victim under section…
     2252A(a)(3), …2422….


     2.      As per 18 U.S.C. §3142(g), the nature and circumstances of the defendant’s

            offense, the strong evidence against the defendant, the criminal history of the

            defendant and the nature and seriousness of the defendant’s danger to children if

            released, weigh heavily against the pre-trial release of the defendant.

     3.     The nature and circumstances of the defendant’s crimes and the strong evidence

            against him are set forth in this paragraph.

            A.      On June 23, 2018, in the area of Interstate 270 north of Dorsett Road, the

            defendant was found to be in the company of a 14 year old boy, J.W., at just after

            4 a.m. following a motor vehicle accident involving the defendant’s vehicle and

            another vehicle. J.W. was not a relative of the defendant. The defendant was a

            registered sex offender for sex crime convictions involving multiple victims who

            were minor boys close in age to J.W. This information as well as information

            from a Crawford County Sheriff’s Office inquiry related to the defendant’s

            internet communication with C. (last name unknown), a 13-year old boy from

            Leasburg, Missouri, also not a relative of the defendant’s, was communicated to

            the Franklin County Sheriff’s Office. The defendant is a resident of Franklin

            County.




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            B.     During an interview with a Franklin County detective, the defendant

            admitted to online communications with two additional underage boys, T.N. and

            D.B. who were 17 and 15 years old, respectively. The defendant consented to a

            search of his Facebook account, however he did not give the detective the correct

            password. Estes also consented to a search of his cell phone. The forensic

            analysis of the defendant’s cell phone recovered sexual explicit Facebook

            communications between the defendant and D.W., a 16-year old male.

            C.     During these communications, the defendant asks D.W. to “Hey come

            over to my house today.” In other communications, the defendant texts D.W. “U

            need to come over $$,” to which D.W. responds that he cannot come over because

            he does not have a ride and his parents would ask why. The defendant responds,

            “Ok, sorry. $$.$$,” and “I wish you could come over right now it would be fun.”

            The defendant asks for and receives D.W.’s birthday date. The defendant goes on

            to text D.W. that “… I want you now…,” and asks again for D.W. to come over.

            The defendant further asks D.W. to “Send me a video of you playing with

            yourself.” The defendant sends D.W. a picture of an adult male’s penis and

            buttocks. D.W. responds “Mmm daddy I wanna ride that and daddy In (sic) not

            going to tell anyone about this.” The defendant responds, “Cool and keep it that

            way please.” The defendant further asks to see D.W. in girl clothes and there are

            discussions about the manner of sexual contact between the defendant and D.W.

            After such communication, the defendant tells D.W. “well beings you’re not

            coming over I got to go to bed and get then I got to get ready for work later.” On




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            a different date, the defendant asks D.W. how he is doing in school and asks D.W.

            to come to his house.

            D.     After the forensic analysis of the defendant’s digital communications, the

            defendant agreed to meet with the Franklin County Sheriff’s Officer Detective

            once again. During that interview, the defendant admitted to communicating with

            D.W. and knowing D.W. was 16. The defendant admitted that he sent D.W. a

            picture of his buttocks and his penis. The defendant agreed with the detective that

            it appeared that he was trying to meet up with underage boys for sex. The

            defendant claimed that he was only going to pretend to pay D.W. to get D.W. to

            come to his house so that the defendant could explain to D.W. the dangers of

            meeting someone on the internet. The defendant was between 56-57 years old

            during the time of the above-referenced communications with D.W.

     4.     The defendant has a criminal history of predation against children. At all times

            during his commission of the crimes set forth above, the defendant was a

            registered sex offender having been convicted in two St. Charles County cases

            (case nos. 11R019100161 and CR190576F) for crimes of sodomy, deviate sexual

            assault and sexual abuse against victims who were 13-15-year old boys. The

            defendant was sentenced to a total of 10 years in prison on these offenses.

     5.     The defendant’s release would present a danger to children of continued sexual

            abuse. Despite substantial imprisonment for sex crimes against children and

            despite being a registered sex offender: A) the defendant was investigated in

            2001 in St. Louis City (St. Louis Metropolitan Police report 01149470) for sexual

            misconduct and furnishing pornography to a minor involving a 16-year old child



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               (no conviction resulted from that 2001 investigation), and B) defendant was

               further investigated in 2010 in the city of Pacific (Pacific Police Dept. report

               21003645) for statutory rape, statutory sodomy and forcible rape involving a

               minor child (no conviction resulted from that 2010 investigation). The defendant

               then committed the presently indicted offenses in 2018. Despite knowing the

               police were investigating his 2018 prurient activities with children, the defendant

               is presently under investigation for still further sexual offenses against a 15-year

               old boy in the city of Union (Union Police Dept. report 2019-00576), assault

               against a 17-year old boy (Union Police Dept. report 2019-00943 and loitering in

               a public park in violation of sex offender registration laws (Union Police Dept.

               report 2019-01091).

       WHEREFORE, the defendant cannot refute the presumption that there are no conditions

or combination of conditions that will reasonably assure defendant’s appearance as required and

the safety of any other person and the community and the Government requests this Court to

order defendant detained prior to trial, and further to order a detention hearing three (3) days

from the date of defendant’s initial appearance pursuant to 18 U.S.C. 3142(f).

                                              Respectfully submitted,


                                              JEFFREY B. JENSEN
                                              UNITED STATES ATTORNEY


                                              /s/ Jillian S. Anderson
                                              JILLIAN S. ANDERSON
                                              Assistant United States Attorney




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